
ON APPLICATION FOR REHEARING
PER CURIAM.
On application for rehearing, the appellee points out that there is language in Armstrong v. Aetna Ins. Co., 448 So.2d 353 (Ala.1983), and Hodge v. United States Fidelity &amp; Guar. Co., 539 So.2d 229 (Ala.1989), that conflicts with the holding of our original opinion. Specifically, both of those cases state that “when an insurer undertakes to inspect an insured employer’s premises for safety, it assumes the duty of the insured employer to provide a safe place for its employees to work.” Hodge, 539 S.2d at 231. We believe this language is inappropriate. Beasley v. MacDonald Eng’g Co., 287 Ala. 189, 249 So.2d 844 (1971), points out that the duty to provide a safe workplace is not necessary to a cause of action for negligent inspection.
The language quoted above from Hodge and reflected in Armstrong is unnecessary to the decision in those cases.
*957OPINION EXTENDED AND APPLICATION OVERRULED.
HORNSBY, C.J. and MADDOX, JONES, ALMON, SHORES, ADAMS, HOUSTON, STEAGALL and KENNEDY, JJ., concur.
